      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 1 of 41




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NATALIE WILLINGHAM,                        CASE NO.: 1:12-cv-01157-RWS-JFK
individually, and on behalf of all
others similarly situated,                 CLASS ACTION

            Plaintiff,                     JURY TRIAL DEMANDED

 v.

 GLOBAL PAYMENTS INC.,

            Defendant.


           DEFENDANT GLOBAL PAYMENTS INC.’S
       MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
      Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6),
Defendant Global Payments Inc. (“GP”) respectfully submits this Memorandum of
Law in Support of its Motion to Dismiss. As set forth more fully herein, Plaintiff
lacks standing to assert her claims, and her Complaint fails to state a single
cognizable cause of action against GP. GP’s Motion to Dismiss should be granted.
                                INTRODUCTION
      Plaintiff asserts a host of claims against GP, each arising from a data theft
that the Company announced in March 2012. Plaintiff bases her claim that she was
impacted by that data theft on a daisy chain of assumptions and inferences rather
than cold, hard facts.    Most glaringly, Plaintiff does not allege any basis for
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 2 of 41




concluding that her data was compromised in the theft. Indeed, Plaintiff does not
even allege that she made a credit card purchase from a merchant that uses GP to
process its credit card transactions. Put simply, Plaintiff has not provided the
Court with any basis whatsoever for inferring that GP even had Plaintiff’s data in
its possession to be compromised at the time of the data theft at issue.
      All of Plaintiff’s claims must fail. As a preliminary matter, each and every
claim Plaintiff asserts must be dismissed because Plaintiff has not alleged the
necessary causation or injury-in-fact to have standing. Moreover:

     Plaintiff’s statutory claims must be dismissed because the statutes Plaintiff
      sues under either do not apply to GP (in the case of the Stored
      Communications Act (“SCA”) and the Fair Credit Reporting Act
      (“FCRA”)), do not apply to Plaintiff (in the case of Georgia’s Unfair and
      Deceptive Trade Practices Act (“UDTPA”)), or do not prohibit the alleged
      conduct (SCA and FCRA);

     Plaintiff’s tort-based based claim also fails. Plaintiff cannot state a claim for
      negligence when there is no connection between her and GP, and GP owed
      her no duty of care; and

     Plaintiff’s contract-based claims likewise fail. Plaintiff does not allege any
      actual contract with GP. Instead, she asks the Court to allow her to sue
      under unidentified contracts to which she is not a party or to imply a contract
      that does not exist. Plaintiff’s breach of third-beneficiary contract claim
      must be dismissed because Plaintiff has not alleged that the parties to the
      alleged but unidentified third-party contract intended her to be a beneficiary
      to that contract. Plaintiff’s breach of implied contract claim likewise must
      be dismissed because she does not allege that she and GP ever reached an
      agreement with each other or otherwise had a meeting of the minds.




                                         -2-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 3 of 41




                         COMPLAINT ALLEGATIONS
      GP provides payment processing services for credit cards issued to
cardholders by issuing banks. (See Compl. ¶¶ 2, 18). Plaintiff is a resident of
Kansas who holds a “Visa branded credit card issued by Bank of America.” (Id. ¶¶
13, 28). Plaintiff does not allege that she has any contract or relationship with GP.
Rather she alleges that GP has contracts “with retailers to handle the processing of
card transactions . . . .” (Id. ¶ 18). Plaintiff alleges that GP’s role in the processing
of card transactions is as follows: “The retailer sends the consumer’s information
to the merchant acquirer, such as Global Payments, who then forwards that
information to Visa, MasterCard, or another issuer, who clears the transaction with
the consumer’s bank.” (Id.).
      Although GP does not provide cards to cardholders and has no relationship
with cardholders, GP does, to the extent necessary to provide payment processing
services, maintain cardholder Personally Identifiable Information (“PII”). (See id.
¶ 3). In March 2012, GP acknowledged that unauthorized third parties had gained
access into “a portion of its processing system.” (Id. ¶ 25). As a result, the
security of certain limited cardholder information was compromised. (Id. ¶ 27).
      GP promptly notified law enforcement and appropriate industry parties, “to
allow them to minimize cardholder impact.” (See id. ¶¶ 3, 4). On March 30, 2012,
GP released a public statement disclosing the unauthorized access, and, on April 2,
2012, held an investor conference call and created a publicly available website to


                                          -3-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 4 of 41




provide information regarding the unauthorized access. (See id. ¶¶ 4, 5, 27). GP’s
statements indicated its belief that the cardholder information exported by the
unauthorized third parties did not include cardholder names or social security
numbers. (Id. ¶ 27). Plaintiff bases her claims in this lawsuit on GP’s public
disclosures as well as other media attention and press releases. (Id. ¶¶ 3-8, 23-27).
      Plaintiff alleges that, in or about mid-March 2012, she discovered fraudulent
charges to her Bank of America Visa card. (Id. ¶ 29). Plaintiff does not allege
whether she reported these charges as fraudulent or whether she was ultimately
required to pay them. Plaintiff also does not allege that she made any payments
from a merchant that uses GP to process its credit card transactions. Plaintiff
simply alleges that – based solely on the “timing of the fraudulent activity” – she
“believes” these charges were the result of the data theft experienced by GP, (Id. ¶
30), and asserts claims against GP for: negligence; violation of the Stored
Communications Act, 18 U.S.C. § 2702; willful and negligent violation of the Fair
Credit Reporting Act, 15 U.S.C. § 1681, et seq.; violation of Georgia’s Unfair and
Deceptive Trade Practices Act, O.C.G.A. § 10-1-372; negligence per se; breach of
third party beneficiary contract; and breach of implied contract. Plaintiff also
seeks to represent a nationwide putative class. (See id. ¶ 33).




                                         -4-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 5 of 41




              ARGUMENT AND CITATION OF AUTHORITY
I.    Plaintiff Lacks Standing, And Her Claims Must Be Dismissed Under
      Rule 12(b)(1).
      When faced with a facial attack on standing under Federal Rule of Civil
Procedure 12(b)(1), the plaintiff bears the burden of establishing that standing
exists. Amnesty Int’l, USA v. Battle, 559 F.3d 1170, 1177 (11th Cir. 2009). “Each
element of standing must be supported in the same manner as any other matter on
which the plaintiff bears the burden of proof.” Id. As the Eleventh Circuit has
explained, “[t]he standing inquiry ‘requires careful judicial examination of a
complaint's allegations to ascertain whether the particular plaintiff is entitled to an
adjudication of the particular claims asserted.’” Elend v. Basham, 471 F.3d 1199,
1205 (11th Cir. 2006) (quoting Allen v. Wright, 468 U.S. 737, 752 (1984)).
      This case must be dismissed pursuant to Federal Rule of Civil Procedure
12(b)(1) because Plaintiff has failed to plead facts sufficient to establish standing
as required by Article III, Section 2 of the U.S. Constitution. “[S]tanding is a
threshold jurisdictional question which must be addressed prior to and independent
of the merits of a party’s claims.” Bochese v. Town of Ponce Inlet, 405 F.3d 964,
974 (11th Cir. 2005) (quoting Dillard v. Baldwin Cnty. Comm'rs, 225 F.3d 1271,
1275 (11th Cir. 2000)).      The standing doctrine requires Plaintiff to allege: (i)
injury-in-fact; (ii) a causal connection between the injury and the conduct
complained of; and (iii) that the injury is likely to be redressed by the requested
relief. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102-03 (1998).

                                         -5-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 6 of 41




      “The plaintiff has the burden to clearly and specifically set forth facts
sufficient to satisfy” Article III’s standing requirements, and the Court “should not
speculate concerning the existence of standing. . . .” Miccosukee Tribe of Indians
of Fla. v. Fla. State Athletic Comm’n, 226 F.3d 1226, 1229-30 (11th Cir. 2000)
(internal quotation marks omitted). In a putative class action, the named Plaintiff
herself must satisfy all of the requirements of standing. Griffin v. Dugger, 823
F.2d 1476, 1483 (11th Cir. 1987). 1       Plaintiff has failed to establish Article III
standing, and all of her claims must be dismissed.
      A.     Plaintiff has not alleged that GP caused her alleged injuries.
      First and foremost, Plaintiff lacks standing because she has not alleged any
facts that, when taken as true, establish any causal connection between the GP data
theft and Plaintiff’s alleged injuries.   To satisfy the requirements of Article III
standing, Plaintiff must allege that there is a causal connection between any alleged
injury-in-fact and the conduct of which Plaintiff complains. Lujan v. Defenders of
Wildlife, 504 U.S. 555, 560 (1992). Specifically, the injury has to be “fairly . . .
trace[able] to the challenged action of the defendant, and not . . . th[e] result [of]
the independent action of some third party not before the court.” Id. (quoting
Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 41-42 (1976)). Furthermore, the

1
   Despite this clear requirement, the Complaint regularly conflates alleged injuries
of the named Plaintiff and those of members of the purported class. (See, e.g.,
Compl. ¶¶ 58, 71, 111). This Memorandum focuses on only those allegations
specifically related to the named Plaintiff inasmuch as those are the only relevant
allegations at this pre-certification stage.
                                          -6-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 7 of 41




“causal connection cannot be too attenuated.” Wooden v. Bd. of Regents of Univ.
Sys. of Ga., 247 F.3d 1262, 1274 (11th Cir. 2001). In this case, Plaintiff asks the
Court to build inference upon inference to find a causal connection.
      Plaintiff alleges that she has a Visa branded credit card issued by Bank of
America and that fraudulent charges occurred on that card.             (Compl. ¶ 29).
Plaintiff then jumps to the conclusion that “[b]ased on the timing of the fraudulent
activity . . . [she] believes that her PII was compromised” by GP. (Id. ¶ 30). These
allegations are the sum total of Plaintiff’s efforts to allege causation.      But, a
coincidence in timing does not a causal connection make. The law requires more.
      Federal courts consistently have rejected the notion that a mere temporal
connection between events is sufficient to establish causation. See, e.g., Guinn v.
AstraZeneca Pharms. LP, 602 F.3d 1245, 1254 (11th Cir. 2010) (“Temporal
proximity is generally not a reliable indicator of a causal relationship.”); Westberry
v. Gislaved Gummi AB, 178 F.3d 257, 265 (4th Cir. 1999) (“[T]he mere fact that
two events correspond in time does not mean that the two necessarily are related in
any causative fashion.”).    Thus, in order to meet the causation requirement,
Plaintiff must allege facts demonstrating “that the injury is indeed fairly traceable
to the defendant’s acts or omissions.” See Vill. of Arlington Heights v. Metro.
Hous. Dev. Corp., 429 U.S. 252, 261 (1977).
      Plaintiff has not alleged any facts showing that her alleged injury is fairly
traceable to GP’s conduct. As a preliminary matter, Plaintiff does not even allege


                                         -7-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 8 of 41




that her PII was compromised in the data breach that GP experienced. Indeed,
Plaintiff does not allege that she ever made a credit card purchase from a merchant
that uses GP to process its credit card transactions (meaning that Plaintiff has not
even alleged any facts showing that GP had any of Plaintiff’s PII at the time of the
theft). Plaintiff also does not allege that the fraudulent charges on her card in fact
resulted from the data breach that GP experienced. Nevertheless, Plaintiff asks the
Court to assume that the data breach was the cause of alleged fraudulent activity on
her credit card simply as a result of the timing of the credit card charges.
      Other courts have refused to make this leap, and this Court should do the
same. For example, in Hammond v. Bank of New York Mellon Corp., the court
found that the plaintiffs failed to allege sufficiently any fraud that was causally
connected to the loss of the data tapes at issue in the case. No. 08-CIV-6060, 2010
WL 2643307, at *13 (S.D.N.Y. June 25, 2010). And, in data breach cases where
standing has been found, plaintiffs had more than speculation upon which to base
their claims. See Lambert v. Hartman, 517 F.3d 433, 438 (6th Cir. 2008). In
Lambert, the court found that the plaintiff had satisfied standing requirements
where she “was able to link the act of identity theft to the personal information that
was [improperly] made available. . . .” Id. Specifically, the Lambert plaintiff
showed that an erroneous driver’s license number in the system that had been
compromised was identical to the driver’s license number on fake identification
used to make fraudulent purchases in her name. Id. Moreover, the individual who


                                         -8-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 9 of 41




committed identity theft confessed to accessing the plaintiff’s information via the
compromised data system. Id. Plaintiff does not allege any facts in the Complaint
that would come close to proving this sort of connection between GP’s alleged
conduct and her injury. Her claims must be dismissed.
      B.      Plaintiff has not alleged an injury-in-fact.
      “Injury in fact” exists where a plaintiff has suffered an “invasion of a legally
protected interest which is (a) concrete and particularized, and (b) actual or
imminent, not conjectural or hypothetical.”         Lujan, 504 U.S. at 560 (internal
citations and quotation marks omitted). It is not enough that a complaint “sets
forth facts from which [the Court] could imagine an injury sufficient to satisfy
Article III’s standing requirements. . . .” Miccosukee Tribe of Indians of Fla., 226
F.3d at 1229. Furthermore, the mere possibility of future injury is not enough to
establish standing. Bowen v. First Family Fin. Servs., 233 F.3d 1331, 1340 (11th
Cir. 2000).    Rather, Plaintiff must allege injuries that are “actual” or “certainly
impending.” Lujan, 504 U.S. at 563 n.2. Plaintiff has not done so, and her claims
must be dismissed.
      Although Plaintiff makes several generalized assertions of categories of
damages she seeks, there is only one specific, factual allegation in the Complaint
as to an injury Plaintiff claims to have suffered – that is Plaintiff’s allegation that
she suffered “fraudulent charges in the approximate amounts of $600 and $300.”
(Compl. ¶ 29).       But Plaintiff has not alleged that she actually paid for the


                                           -9-
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 10 of 41




fraudulent charges as opposed to having them removed or reimbursed by her credit
card issuer. This is a key deficiency in the Complaint because courts have held
that allegations of fraudulent charges that were ultimately reimbursed are not
sufficient to constitute an injury-in-fact. See Order at 9, Irwin v. RBS WorldPay,
Inc., No. 1:09-cv-00033-CAP (N.D. Ga. Feb. 5, 2010) (attached hereto as Ex. A)
(plaintiff did not establish injury-in-fact when unknown charge on her credit card
was ultimately removed by bank); see also Hammond, 2010 WL 2643307, at *8;
see generally Troiano v. Lepore, No. 03-CV-80097, 2003 WL 24832863, at *4
(S.D. Fla. Nov. 3, 2003) (plaintiffs did not show an injury-in-fact because their
alleged injury had been remedied before lawsuit). It is Plaintiff’s duty to establish
that she has standing to bring her claims. Lujan, 504 U.S. at 561. Because
Plaintiff failed to plead facts essential to the question of whether she suffered
actual pecuniary loss as a result of the alleged fraudulent credit card charges,
Plaintiff has failed to carry that burden.
      Plaintiff’s generalized claims of other alleged injuries – without any factual
support – are not sufficient to carry her burden under Iqbal and Twombly. Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007) (complaint must include more
than “naked assertion[s]” devoid of “further factual enhancement” in order to
satisfy federal pleading standards); Ashcroft v. Iqbal, 556 U.S. 662 (2009).2

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  Plaintiff lists a number of vague categories of damages that she “and the class”
collectively purportedly incurred. (See Compl. ¶ 58). But she does not include any
factual allegations showing that Plaintiff herself incurred those damages, and that
                                         - 10 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 11 of 41




      Moreover, even if Plaintiff’s vague allegations suffice (and they do not), the
types of injuries she alleges are not cognizable for the claims she asserts. See, e.g.,
Order at 8, 11-12 RBS WorldPay, Inc., No. 1:09-cv-00033-CAP (attached hereto as
Ex. A) (stating that “the mere exposure of [PII] is not sufficient to constitute actual
injury for purposes of Article III standing” where plaintiff had failed to adequately
allege that she had been the victim of identity theft, and her risk of future identity
theft and the expenses associated with mitigation efforts to prevent future identity
theft did not constitute an injury-in-fact); In re Jetblue Airways Corp. Privacy
Litig., 379 F. Supp. 2d 299, 327 (E.D.N.Y. 2005) (“[T]here is absolutely no
support for the proposition that the personal information of an individual JetBlue
passenger had any value for which that passenger could have expected to be
compensated . . . .     There is likewise no support for the proposition that an
individual passenger’s personal information has or had any compensable value in
the economy at large.”); Reilly v. Ceridian Corp., 664 F.3d 38, 44-45 (3d Cir.
2011) (alleged “emotional distress” was insufficient to constitute injury-in-fact in a
data breach case); see also Hammond, 2010 WL 2643307, at *7-8, 11 (finding no
injury-in-fact despite an allegation that the plaintiffs had incurred “actual damages
including, but not limited to: anxiety, emotional distress, loss of privacy, and other


is what is relevant for the standing analysis. Griffin v. Dugger, 823 F.2d 1476,
1483 (11th Cir. 1987). For example, Plaintiff alleges in Paragraph 58 that she and
the class incurred damages associated with “the burden and cost of closing
compromised accounts,” but she does not allege that she actually ever closed a
compromised account.
                                         - 11 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 12 of 41




economic and non-economic harm”); Allison v. Aetna, Inc., No. 09-2560, 2010 WL
3719243, at *2 (E.D. Pa. Mar. 9, 2010) (finding no injury-in-fact despite the
plaintiff’s allegation that he “suffers anxiety, emotional distress, and loss of
privacy”).   Plaintiff has failed to allege an injury in fact sufficient to establish
standing, and all of her claims must be dismissed.
II.   Plaintiff’s Complaint Fails To State A Claim.
      In Ashcroft v. Iqbal, 556 U.S. 662 (2009), the United States Supreme Court
clarified the standard for determining whether a plaintiff has stated a claim upon
which relief can be granted. The Court held that a complaint must contain more
than a simple “the-defendant-unlawfully-harmed-me accusation.” Id. at 678 (citing
Bell Atl. Corp v. Twombly, 550 U.S. 544, 555 (2007)). Where “the well-pleaded
facts do not permit the court to infer more than the mere possibility of
misconduct,” then the plaintiff has failed to state a legally cognizable claim for
relief, and dismissal is appropriate. Iqbal, 556 U.S. at 679. “A complaint may be
dismissed if the facts as pled do not state a claim for relief that is plausible on its
face.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1260 (11th Cir. 2009),
abrogated on other grounds by Mohamad v. Palestinian Auth., 132 S. Ct. 1702
(2012). “[P]leadings offering only labels and legal conclusions couched as factual
allegations enjoy no presumption of truth and offer no support to the sufficiency of
the complaint.” Gunder's Auto Ctr. v. State Farm Mut. Auto. Ins. Co., 422 F.
App’x 819, 821 (11th Cir. 2011).


                                         - 12 -
       Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 13 of 41




III.   Plaintiff’s Statutory Claims Fail As A Matter Of Law.

       A.    Plaintiff’s claim for violation of the Federal Stored Communications
             Act must be dismissed.
       Plaintiff’s allegations fall far short of stating a claim under the SCA. The
SCA provides that “a person or entity providing an electronic communication
service” or a “remote computing service” to the “public shall not knowingly
divulge . . . the contents of a communication . . . .” 18 U.S.C. § 2702(a)(1)-(2).
The SCA does not apply here because: (i) GP is not an “electronic communication
service” or “remote computing service” provider; (ii) GP does not provide either
service “to the public;” (iii) the data at issue is not the contents of a
communication; and (iv) GP did not “knowingly divulge” any protected
information. Plaintiff’s failure to plead any of these requisite elements requires
dismissal of her SCA claim.

             1.    GP is neither an “Electronic Communication Service” nor a
                   “Remote Computing Service” provider.
       “Electronic communication service” (“ECS”) is defined as “any service
which provides users thereof the ability to send or receive wire or electronic
communications.”     U.S. v. Steiger, 318 F.3d 1039, 1049 (11th Cir. 2003); 18
U.S.C. § 2510(15). The Eleventh Circuit has explained that this definition applies
to a “phone company, Internet Service Provider (ISP), or electronic bulletin board
system.”    318 F.3d at 1049.    A plaintiff’s failure to allege that the defendant
provided the internet or phone service through which the communication at issue

                                       - 13 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 14 of 41




was sent requires dismissal of an SCA claim. In re Michaels Stores Pin Pad Litig.,
No. 11 C 3350, 2011 WL 5878373, at *3 (N.D. Ill. Nov. 23, 2011) (“the provider
of an electronic communication service is the provider of the underlying service
which transports the data, such as an internet service provider or a
telecommunications company whose cables and phone lines carry internet traffic,
and not the provider of a product or service which facilitates the data transport.”)
      Plaintiff does not allege that GP provides phone, internet, or interactive
communication service. The closest Plaintiff comes is alleging that GP “provides
consumers with payment processing services that enable consumers to send wire or
electronic communications.” (Compl. ¶ 63) (emphasis added). But this is not
enough to state an SCA claim. Indeed, the Michaels court dismissed a nearly
identical claim – that, “Michaels, through its PIN pads, enables consumers to pay
with credit and debit cards and send or receive electronic communications
concerning their account data and PINs to transaction managers, card companies,
or banks.” In re Michaels, 2011 WL 5878373, at *3 (emphasis added). The court
reasoned that the PIN pad used to transfer the information is “a necessary tool for
almost any retailer today” and that “Plaintiff’s interpretation . . . would convert
every single retailer using a PIN pad” into an ECS provider. Id.
      Plaintiff has likewise failed to allege facts sufficient to show that GP is a
provider of “remote computing services” (“RCS”). The SCA defines RCS as “the
provision to the public of computer storage or processing services by means of an


                                        - 14 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 15 of 41




electronic communication system.” 18 U.S.C. § 2711(2). The SCA does not
include a definition for RCS, but the statute’s legislative history is instructive – a
company provides RCS if it allows customers to use its computing facilities in
“essentially a time-sharing arrangement” or furnishes a server that allows users to
store data for future retrieval. H.R. Rep. No. 99-647, at 23 (1986); Steve Jackson
Games, Inc. v. United States Secret Serv., 816 F. Supp. 432, 442-43 (W.D. Tex.
1993), aff’d on other grounds, 36 F.3d 457 (5th Cir. 1994). There are no factual
allegations in the Complaint sufficient to establish that GP is a provider of RCS.

               2.    GP does not provide service “to the public.”
         Even if GP provides ECS or RCS (and it does not), it certainly does not
provide either service to the public – an insurmountable obstacle to Plaintiff’s SCA
claim.     Although “public” is not defined in the SCA, its plain meaning is
“‘aggregate of the citizens’ or ‘everybody’ or ‘the people at large’ or ‘the
community at large.’” Andersen Consulting LLP v. UOP, 991 F. Supp. 1041, 1042
(N.D. Ill. 1998) (dismissing SCA claim because company email system from
which the breach occurred was not available “to the public”) (quoting Black’s Law
Dictionary, 1227 (6th ed. 1990)).
         Plaintiff quotes the language of the SCA in alleging that GP provides ECS
and RCS to the public. (Compl. ¶¶ 63, 68). Simply parroting a statute’s provisions
is insufficient to state a claim under the SCA, and Plaintiff does not allege any
facts that make plausible the claim that GP provides services to the public. Indeed,


                                        - 15 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 16 of 41




Plaintiff hinges her SCA claim on the idea that GP provides service to the public
“by virtue of its payment processing services for consumer credit and debit card
payments . . . .” (Compl. ¶¶ 63, 68). But Plaintiff’s own allegations reveal that GP
does not provide those services to the public – Plaintiff alleges in detail that
“Global Payments Inc. is a provider of electronic transaction processing services
for merchants, Independent Sales Organizations (ISOs), financial institutions,
government agencies and multi-national corporations.” (Compl. ¶ 2) (emphasis
added). This specific, factual allegation undercuts all of Plaintiff’s vague attempts
to cast GP as a provider of service to the public.
      Plaintiff attempts to avoid this problem by alleging in conclusory fashion
that GP “stores personal and financial information on behalf of the public.”
(Compl. ¶ 68). That GP may possess certain information relating to the customers
of GP’s merchant customers by virtue of the fact that the merchant uses GP to
process credit card transactions does not mean that GP provides any services to the
merchant’s customers – much less that GP provides any services to the public as
the SCA requires.

             3.     The transactional data at issue is not the “contents of a
                    communication.”
         Plaintiff’s SCA claim also fails because the data that GP possesses as a
result of the credit card transactions it processes does not constitute the “contents
of a communication,” as the SCA requires. The legislative history and cases cited
above explain that internet service providers and phone companies are ECS and

                                        - 16 -
         Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 17 of 41




RCS providers because these types of companies, unlike GP, deal with the transfer
and storage of the contents of actual communications such as email and phone
calls.    The SCA requires different levels of protection for different types of
information and specifically carves out from liability the disclosure of transactional
or record data to non-governmental entities. See 18 U.S.C. § 2702(c). Courts have
recognized this clear distinction. Hill v. MCI Worldcom Commc’ns, Inc., 120 F.
Supp. 2d 1194, 1195 (S.D. Iowa 2000) (rejecting argument that invoice/billing
information qualified as “contents” under the SCA and dismissing claim.); see also
In re Application of U.S. for an Order Directing a Provider of Elec. Commc'n
Serv. to Disclose Records to Gov't, 620 F.3d 304, 306-07 (3d Cir. 2010) (clarifying
the difference between content and transactional data).
         Here, the type of claims Plaintiff attempts to allege under 18 U.S.C. § 2702
require GP to have knowingly divulged the “contents of a communication.”
(Compl. ¶¶ 61, 65). Instead, Plaintiff alleges only that “customer credit and debit
account information” was divulged. (Compl. ¶¶ 64, 69). This type of information
is not the contents of a communication but, at most, transactional or record
information and Plaintiff’s claim therefore must fail.




                                         - 17 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 18 of 41




             4.    Plaintiff does not allege that GP knowingly divulged any
                   protected communications.
      Finally, Plaintiff does not allege the requisite intent under the SCA. The
SCA only prohibits knowingly divulging the contents of protected information. 18
U.S.C. § 2702(a)(1)-(2). The legislative history is clear that the term “knowingly”
imposes a high scienter requirement:
      The term knowingly means that the defendant was aware of the nature
      of the conduct, aware of or possessing a firm belief in the existence of
      the requisite circumstances and an awareness of or a firm belief about
      the substantial certainty of the result. The conduct in question is the
      act of disclosure.
H.R. Rep. No. 99-647, at 64 (1986). Plaintiff does not allege any facts suggesting
that GP knowingly divulged any protected information. Indeed, Plaintiff premises
her SCA claim on the allegation that GP failed to “take commercially reasonable
steps to safeguard” the data. (Compl. ¶ 68). Courts have uniformly rejected the
argument that this very allegation is sufficient to satisfy the SCA’s intent
requirement. See Worix v. MedAssets, Inc., No. 11 C 8088, 2012 WL 1419257, at
*2-3 (N.D. Ill. Apr. 24, 2012) (upholding dismissal of SCA claim based solely on a
lack of intent because “the failure to take reasonable steps to safeguard data, which
was all [plaintiff] had alleged does not, without more, amount to divulging that
data knowingly or with willful blindness.”) (internal quotations omitted);
Muskovich v. Crowell, No. 3–95–CV–20007, 1996 WL 707008, at *5 (S.D. Iowa
Aug. 30, 1996) (allegation that failure to implement safeguards had resulted in data
breach did not satisfy the “knowingly divulge” requirement because “[a]wareness

                                        - 18 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 19 of 41




of a ‘possibility’ does not rise to the level of a ‘substantial certainty’ required fo r
liability under the [SCA]”); Freedman v. Am. Online, Inc., 329 F. Supp. 2d 745,
749 (E.D. Va.2004) (SCA requires a plaintiff to show that “defendant was aware,
or possessed a firm belief, that his act would result in . . . disclosure.”). Plaintiff’s
failure to allege the essential elements of an SCA claim requires dismissal of the
claim.
         B.   Plaintiff’s claims for willful and negligent violation of the FCRA must
              be dismissed.
         To support her claims for negligent and willful violations of the FCRA,
Plaintiff must allege facts establishing that the FCRA applies to GP. To do so,
Plaintiff must establish that GP is a “consumer reporting agenc[y]” providing
“consumer report[s].” See 15 U.S.C. § 1681b. Plaintiff’s claim must be dismissed
because she has failed to allege facts to support either proposition. 3




3
  Plaintiff’s claim for willful breach of the FCRA should also be dismissed because
Plaintiff has not pled any facts to support her claim that GP willfully violated the
statute. A defendant willfully violates the FCRA “if the defendant violates the
terms of the [FCRA] with knowledge or reckless disregard for the law.” Harris v.
Mexican Specialty Foods, Inc., 564 F.3d 1301, 1310 (11th Cir. 2009). Here,
Plaintiff alleges that GP’s alleged “failure to adopt and maintain reasonable
procedures in compliance with the FCRA was willful.” (Compl. ¶ 78). Even
assuming that GP could have violated the FCRA in the manner alleged, Plaintiff
has not alleged any facts showing that GP knowingly violated the FCRA. Nor has
Plaintiff alleged any facts that would establish a reckless disregard of the FCRA.
Simply alleging that conduct is willful does not make it so.
                                         - 19 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 20 of 41




             1.    Plaintiff has not alleged any facts to support her claim that GP
                   is a consumer reporting agency.
      A “consumer reporting agency” is “any person which, for monetary fees,
dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in
the practice of assembling or evaluating consumer credit information or other
information on consumers for the purpose of furnishing consumer reports to third
parties . . . .” 15 U.S.C. § 1681a(f). Even assuming Plaintiff properly alleged that

GP satisfies all of the other requirements for being a consumer reporting agency
(and she has not), Plaintiff has not alleged any facts to support her boilerplate
allegation that GP engaged in the practice of “assembling or evaluating” consumer
credit or other consumer information.       (See Compl. ¶ 74 (parroting FCRA’s
definition of “consumer reporting agency” without any factual support)).
Plaintiff’s FCRA claims must therefore be dismissed.
      The Complaint includes detailed allegations by Plaintiff as to how GP does
business. Those allegations make clear that GP only transmits data: “The retailer
sends the consumer’s information to the merchant acquirer, such as GP, who then
forwards that information to Visa, Mastercard, or another issuer, who clears the
transaction with the consumer’s bank.” (Compl. ¶ 18). Plaintiff does not allege
that GP in any way assembles or evaluates the information it receives and
transmits.
      Courts have routinely held that simply transmitting information to another
party does not constitute assembling or evaluating that information. DiGianni v.


                                       - 20 -
        Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 21 of 41




Stern’s, 26 F.3d 346, 349 (2d Cir. 1994) (“assembling and evaluating consumer
credit information . . . implies a function which involves more than receipt and
retransmission of information identifying a particular debt[]”); Ori v. Fifth Third
Bank, 603 F. Supp. 2d 1171 (E.D. Wis. 2009) (entity that provided various
services, including transaction processing, did not assemble or evaluate
information when it served as a conduit for transmitting information about
mortgages for a bank); Knechtel v. Choicepoint, Inc., Civil No. 08-5018, 2009 WL
4123275, at **3-4 (D.N.J. Nov. 23, 2009) (entity was not a credit reporting agency
where it only “pass[ed] information on to other parties that assemble and evaluate
it”); see also Rush v. Macy’s N.Y., Inc., 775 F.2d 1554, 1557 (11th Cir. 1985)
(department store was not a consumer reporting agency when it merely furnished
information to a credit reporting agency).
         In a similar case, Ori v. Fifth Third Bank, the court dismissed just such a
claim.     In Ori, the Plaintiff alleged that FISERV – a company that performed
transaction processing among other functions – violated the FCRA by transmitting
a bank’s mortgage documents to consumer reporting agencies. 603 F. Supp. 2d at
1173.     The Court dismissed the plaintiff’s claim, finding that “[o]btaining and
forwarding information does not make an entity a CRA.” Id. at 1175. Here,
Plaintiff has alleged nothing more than that GP is an entity that obtains and
forwards certain information. Plaintiff therefore has not alleged GP is a consumer
reporting agency, and her FCRA claim must be dismissed.


                                         - 21 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 22 of 41




             2.    The information GP transmits does not constitute a consumer
                   report.

      The FCRA generally defines a consumer report as:

      [A]ny written, oral, or other communication of any information by a
      consumer reporting agency bearing on a consumer's credit worthiness,
      credit standing, credit capacity, character, general reputation, personal
      characteristics, or mode of living which is used or expected to be used
      or collected in whole or in part for the purpose of serving as a factor
      in establishing the consumer's eligibility for-- (A) credit or insurance
      to be used primarily for personal, family, or household purposes; (B)
      employment purposes; or (C) any other purpose authorized under
      section 1681b of this title.
15 U.S.C. § 1681a(d)(1). Although not entirely clear from the Complaint, Plaintiff
appears to claim that the information allegedly obtained from GP – cardholder
names and account numbers – is information “bearing on a consumer’s credit
worthiness, credit standing, credit capacity, character, general reputation, personal
characteristics, or mode of living.” (Compl. ¶¶ 8, 73).
      Courts have held, however, that information of this sort does not constitute a
consumer report because it does not bear on any of the enumerated factors. Smith
v. Waverly Partners, LLC, No. 3:10–CV–28, 2011 WL 3564427, at *5 (W.D.N.C.
Aug. 12, 2011) (“name, Social Security Number, prior addresses, date of birth, and
driver’s license information” did not bear on these factors); In re Nw. Airlines
Privacy Litig., No. Civ.04-126, 2004 WL 1278459, at *1, *3 (D. Minn. June 6,
2004) (records containing information, including “name, flight number, credit card
data, hotel reservation, car rental, and any traveling companions” did not constitute


                                        - 22 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 23 of 41




a consumer report); Dotzler v. Perot, 914 F. Supp. 328, 330 (E.D. Mo. 1996)
(name, address and social security number did not bear on factors). In sum,
although names and account numbers potentially can be used to identify additional
information that bears on the relevant factors, names and account numbers
themselves do not bear on those factors and do not constitute consumer reports.
      The information GP allegedly transmits also does not constitute a consumer
report because it is used as part of credit card (and similar) transaction process es –
processes that are explicitly exempted from the definition of a consumer report.
The definition of consumer report expressly excludes “any authorization or
approval of a specific extension of credit directly or indirectly by the issuer of a
credit card or similar device[.]” 15 U.S.C. § 1681a(d)(2)(B) (emphasis added). A
Federal Trade Commission report commenting generally on this provision notes
that the exemption means that “[a] credit or debit card issuer’s written, oral, or
electronic communication of its decision whether to authorize a charge, in response
to a request from a merchant or any other party the consumer has asked to honor
the card, is not a ‘consumer report.’” 40 Years of Experience with the Fair Credit
Reporting Act: An FTC Staff Report with Summary of Interpretations at 25 (July
2011), available at http://www.ftc.gov/os/2011/07/110720fcrareport.pdf.
      But the exemption on its face is broader than the one example the FTC
discusses. As worded, it covers the process of deciding whether to approve a
credit card or similar transaction; it is not limited to only the credit card issuer’s


                                         - 23 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 24 of 41




actual decision or to information conveyed by the issuer. If it was, Congress could
have drafted the statute to provide that a credit card (or similar) issuer’s decision
about whether to approve a particular transaction does not constitute a consumer
report. Instead, the provision focuses on the process and those who participate in
that process either “directly or indirectly.”
      Plaintiff alleges that GP participates in the process of processing credit card
and similar transactions. (Compl. ¶ 18). An issuer’s transmission of its decision
whether to authorize a particular charge does not constitute a consumer report
under Section1681a(d)(2)(B). That same information does not suddenly become a
consumer report when GP further transmits it. Plaintiff’s FCRA claim must fail.4

      C.     Plaintiff’s claim for violations of Georgia’s Unfair And Deceptive
             Trade Practices Act must be dismissed.
      Plaintiff claims that GP violated the Georgia Uniform Deceptive Trade
Practices Act (“UDTPA”), O.C.G.A § 10-1-372, et seq., by misrepresenting: (i) the
“standard and quality” of its services; and (ii) “the characteristics, ingredients,
uses, and benefits” of its services. (Compl. ¶¶ 94-95). Plaintiff’s UDTPA claim
fails for three reasons. First, Plaintiff – a Kansas citizen – cannot assert a Georgia


4
  Plaintiff’s FCRA claim for negligent violation of that statute also must fail
because it requires proof of actual damages sustained by Plaintiff as a result of a
violation of the statute. See 15 U.S.C. § 1681o(a)(1). Plaintiff posits that GP
violated FCRA by failing to safeguard the security of her personal information.
(Compl. ¶¶ 83-84.) But, as set forth in Section I hereto, Plaintiff does not allege
that she suffered any cognizable damages as a result of GP’s alleged conduct, nor
does she allege a causal link between GP’s conduct and the damages she alleges.
                                          - 24 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 25 of 41




UDTPA claim. Second, Plaintiff has not pled any facts to support her substantive
allegations regarding GP’s alleged misrepresentations. Third, UDTPA provides
only for injunctive relief to prevent future harm, and Plaintiff has failed to allege
any future harm that could be redressed by an injunction against GP. Plaintiff’s
UDTPA claim must therefore be dismissed.
                1.      Plaintiff cannot assert a UDTPA claim.
      As an initial matter, Plaintiff’s UDTPA claim must fail because Plaintiff
cannot sue under the UDTPA, which is a statute sounding in tort. Specifically,
Georgia’s tort choice of law rule prevents Plaintiff from asserting a claim under the
UDTPA because Plaintiff’s alleged injury occurred in Kansas.
      Georgia law defines a tort as “the unlawful violation of a private legal right
other than a mere breach of contract, express or implied.” O.C.G.A. § 51-1-1.
Statutes, such as the UDTPA, can give rise to tort claims. See White v. City of
Atlanta, 545 S.E.2d 625, 627 (Ga. Ct. App. 2001) (noting statutes can give rise to
tort claims).        And, here, Plaintiff sues for alleged misrepresentations under the
UDTPA, which are tort – not contract – claims. (Compl. ¶¶ 94-95).
      Georgia applies the lex loci dilicti rule to tort claims. Garland v. Advanced
Med. Fund, L.P., 86 F. Supp. 2d 1195, 1204-05 (N.D. Ga. 2000). Under this rule,
a court applies the substantive law of the place where the alleged tort occurred.
Int’l Bus. Machs. v. Kemp, 536 S.E.2d 303, 306 (Ga. Ct. App. 2000). A tort occurs
where the injury is sustained. See, e.g., Mullins v. M.G.D. Graphics Sys. Corp.,


                                            - 25 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 26 of 41




867 F. Supp. 1578, 1580 (N.D. Ga. 1994); Wardell v. Richmond Screw Anchor
Co., 210 S.E.2d 854, 856 (Ga. Ct. App. 1974). Because Plaintiff is a resident of
Kansas, her injury is deemed to have occurred in Kansas, and Kansas law applies
to her tort claims. See Mullins, 867 F. Supp. at 1580; Wardell, 210 S.E.2d at 856.
      Under similar circumstances, the Eleventh Circuit has held that a Georgia
plaintiff could not sue under an Illinois tort-based statute where the plaintiff’s
alleged injury occurred in Georgia, not Illinois. Rayle Tech, Inc. v. DeKalb Swine
Breeders, Inc., 133 F.3d 1405, 1409-10 (11th Cir. 1998). The same result should
apply here, and Plaintiff’s UDTPA claim should be dismissed.
            2.     Plaintiff has pled no facts to support her UDTPA claim.
      Plaintiff appears to allege that GP violated Sections 372(a)(5) and 372(a)(7)
of UDTPA.5 (Compl. ¶¶ 94-95). Plaintiff, however, has not alleged any facts to

5
  Plaintiff also appears to allege that GP violated UDTPA by “failing to properly
implement adequate, commercially reasonable security measures to protect
consumers [sic] sensitive PII” and by “failing to immediately notify affected
customers of the nature and extent of the security breach” under Georgia and other
states’ laws. (Compl. ¶¶ 92-93). UDTPA, however, only outlaws the twelve
enumerated actions listed in the statute. O.C.G.A § 10-1-372(a)(1-12). Although
the UDTPA does not displace any other common law or statutory claims for
deceptive trade practices, it does not create any additional rights beyond what is
outlined in the statute. O.C.G.A. § 10-1-372(a) & (c); Med S. Health Plans, LLC v.
Life of S. Ins. Co., No. 4:07-CV-134, 2008 WL 2119915, at *8 (M.D. Ga. May 19,
2008) (rejecting UDTPA claims that did not fall within the twelve enumerated
categories). Plaintiff’s allegations in paragraphs 92 and 93 do not fall within the
twelve enumerated categories. These claims thus fail as a matter of law.
Moreover, as discussed further in this section, these claims also fail because
Plaintiff does not allege any future harm arising from them or allege any facts to
support these claims.
                                       - 26 -
        Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 27 of 41




support these claims.       In particular, Plaintiff does not allege any specific
representations that GP made to her regarding any “particular standard and quality”
related to its services or the “characteristics, ingredients, uses and benefits” of its
services – much less a misrepresentation.         For this reason alone, Plaintiff’s
UDTPA claim must fail. Morton v. Suntrust Mortg., Inc., No. 1:10-CV-2594,
2010 WL 5055822, at *7 (N.D. Ga. Nov. 5, 2010) (dismissing UDTPA claim when
plaintiff simply parroted the allegedly relevant UDTPA provisions without any
supporting factual allegations).
        Plaintiff also has not alleged any facts to support her claim that the
(unidentified) representations that GP supposedly made were false. To show that
GP misrepresented that it would “properly implement adequate, commercially
reasonable security measures” to protect Plaintiff’s PII or that it would “establish
adequate safeguards” to protect or maintain Plaintiff’s PII, Plaintiff must allege
that GP failed to do these things. (See Compl. ¶¶ 94-95). Plaintiff has only alleged
that an “unauthorized third party” accessed GP’s payment system. (E.g., Compl.
¶ 3).    That allegation alone, however, does not lend plausibility to Plaintiff’s
allegation that GP failed to take adequate security measures or establish adequate
safeguards. Indeed, it is equally plausible that GP took adequate, commercially
reasonable measures to protect the data it transmits, and a criminal third-party was
still able to access GP’s system.           To plausibly allege that GP made a
misrepresentation (in addition to showing that GP made a representation, which it


                                         - 27 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 28 of 41




did not), Plaintiff would have to allege what security measures and safeguards GP
took and how those security measures and safeguards differed from what GP said
they would be. See Vie v. Wachovia Bank, N.A., Civil Action No. 1:11–CV–3620–
RWS, 2012 WL 1156387, at *3 (N.D. Ga. Apr. 6, 2012) (dismissing UDTPA
claim where plaintiff failed to plead facts to “support a plausible violation of the
Act”). She has done neither and her claim must therefore be dismissed.

               3.    Plaintiff has failed to allege future harm warranting an
                     injunction against GP.
         UDTPA does not authorize monetary relief; only injunctive relief is
available. Catrett v. Landmark Dodge, Inc., 560 S.E.2d 101, 106 (Ga. Ct. App.
2002).     To obtain an injunction, Plaintiff must establish she is “likely to be
damaged” by GP’s deceptive trade practice in the future. O.C.G.A. § 10-1-373 (a);
Vie, 2012 WL 1156387; Morton, 2010 WL 5055822, at *7 n.14. Plaintiff must
also show that the injunction she seeks will prevent future harm. See e.g., Vie,
2012 WL 1156387, at *3.
         Here, Plaintiff’s UDTPA claim fails because she has not alleged any future
harm that an injunction would prevent.           Indeed, Plaintiff alleges only past
misrepresentations. (Compl. ¶¶ 94-95). Whatever harm Plaintiff claims to have
suffered from GP’s alleged misrepresentation occurred entirely in the past.
Catrett, 560 S.E.2d at 106 (“By definition, an injunction provides relief from
future wrongful conduct: ‘[t]he remedy by injunction is to prevent, prohibit or
protect from future wrongs and does not afford a remedy for what is past.’”).
                                        - 28 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 29 of 41




Assuming Plaintiff’s PII was even compromised – a huge and unsubstantiated
assumption given the complete lack of any complaint allegations on this point – the
data theft occurred in the past and an injunction will do nothing to change it. Id.
(noting that an injunction would not remedy a past misrepresentation).
      Plaintiff also has not alleged facts showing that she is “likely to be
damaged” by any alleged ongoing misrepresentations. To allege future harm from
an ongoing misrepresentation, Plaintiff would have to allege, at a minimum, that:
(i) the alleged security flaws still exist; (ii) another breach would occur; (iii)
Plaintiff’s information would be compromised as part of that breach; and (iv)
Plaintiff’s information compromised in the second hypothetical breach would be
different from the information allegedly compromised in the first breach. Only
then would Plaintiff potentially suffer future harm.    Such allegations – even if
Plaintiff had made them (and she has not) – would be far too speculative to support
a claim for injunctive relief. Byung Ho Cheoun v. Infinite Energy, Inc., 363 F.
App’x 691, 695 (11th Cir. 2010) (affirming district court’s dismissal of plaintiff’s
UDTPA claim where plaintiff alleged only “hypothetical future harm.”);
Friedlander v. HMS-PEP Prods., Inc., 485 S.E.2d 240, 241-42 (Ga. Ct. App. 1997)
(rejecting argument that speculative future harm could support a UDTPA claim).
Plaintiffs’ UDTPA claim thus fails and should be dismissed. Terrill v. Electrolux
Home Prods., Inc., 753 F. Supp. 2d 1272, 1292 (S.D. Ga. 2010) (dismissing
UDTPA claim where plaintiffs did not allege they would be “damaged in the future


                                       - 29 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 30 of 41




absent an injunction . . . much less allege how they [would] be damaged.”)
(emphasis omitted).
IV.   Plaintiff’s Tort Claims Must be Dismissed.
      A.     Plaintiff’s negligence claim must be dismissed.
      Given the complete absence of a relationship between Plaintiff and GP,
Plaintiff cannot establish any duty that GP has breached, nor can she establish a
legally cognizable injury caused by any GP conduct. Thus, under any state’s law,
Plaintiff could not state a negligence claim against GP.          This Memorandum
analyzes Kansas law, which applies to Plaintiff’s claim. 6 To establish negligence
under Kansas law, Plaintiff must prove that: (i) GP owed her a duty of care and
breached that duty; (ii) Plaintiff suffered a legally cognizable injury; and (iii) GP’s

6
  In a case based upon diversity of citizenship jurisdiction, a federal court must
apply the choice of law rules of the forum state in which it sits. Grupo Televisa,
S.A. v. Telemundo Commc’ns Grp., 485 F.3d 1233, 1240 (11th Cir. 2007). Georgia
follows the lex loci delicti choice of law rule for tort claims, see, e.g., Garland, 86
F. Supp. 2d at 1204-05, which requires courts to apply the substantive law of the
place where the alleged tort occurred. Kemp, 536 S.E.2d at 306. A tort occurs
where the injury is sustained. See, e.g., Mullins, 867 F. Supp. at 1580; Wardell,
210 S.E.2d at 856. Because Plaintiff is a resident of Kansas, her injury is deemed
to have occurred in Kansas, and Kansas law applies to her negligence claim. See
Mullins, 867 F. Supp. at 1580; Wardell, 210 S.E.2d at 856. Even if Georgia law
applied, Plaintiff has failed to state a negligence claim. See generally Samuelson v.
Lord, Aeck & Sergeant, Inc., 205 Ga. App. 568, 572 (1992) (“It is well established
that ‘the occurrence of an unfortunate event is not sufficient to authorize an
inference of negligence.’”) (quoting Robertson v. MARTA, 199 Ga. App. 681, 681-
82 (1991)); see also Frank Briscoe Co., Inc. v. Georgia Sprinkler Co., Inc., 713
F.2d 1500 (11 Cir. 1983) (noting confusion in Georgia choice of law rules when
laws of thirteen original colonies may apply).
                                         - 30 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 31 of 41




breach of duty was the proximate cause of Plaintiff’s injury. D.W. v. Bliss, 112
P.3d 232 (Kan. 2005). Plaintiff has failed to allege any facts that would support
the existence here of a duty of care from GP to Plaintiff, and her negligence claim
must be dismissed on that basis.7
      Plaintiff does not allege that she has a contract with GP, that she paid GP
any money in exchange for a service, or that she transacted any business at all with
GP. Kansas courts have held that businesses do not have a generalized duty to
protect non-patrons from harm, particularly when such harm is caused by third-
party actors. See generally Gardin v. Emporia Hotels, Inc., 61 P.3d 732 (Kan. Ct.
App. 2003). In addition, there is no Kansas case in which a court has held that




7
  As fully articulated in Section I.A of this Memorandum, Plaintiff has made no
meaningful attempt to allege any connection between the data theft GP
experienced and any alleged injuries of the Plaintiff. Proximate cause is an
essential element of any negligence claim and requires that there be causal
connection between the duty that was breached and the alleged injury. D.W., 112
P.3d at 238. Furthermore, there is no general obligation of a party to control the
actions of a third-party in order to prevent harm to another, South ex rel. South. v.
McCarter, 119 P.3d 1 (Kan. 2005), and an intervening criminal act can break the
chain of causation in a claim of negligence. Citizens State Bank v. Martin, 609
P.2d 670 (Kan. 1980). Plaintiff has failed to allege any direct connection between
the GP data theft and any alleged losses. Moreover, even if Plaintiff had
sufficiently alleged a connection between GP’s data breach and her alleged
injuries, it would have been the criminal acts of a third-party, and not any
purported negligence of GP, which caused such injuries. For this additional
reason, Plaintiff’s negligence claim should be dismissed.
                                       - 31 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 32 of 41




credit card processors owe consumers the sort of generalized duty to safeguard
data that Plaintiff asserts in the Complaint. 8
      Outside Kansas, numerous courts have held that there is no duty of care in
circumstances similar to this case. In Hammond, plaintiffs brought a putative class
action asserting that the defendant bank had negligently failed to secure their
personal information. 2010 WL 2643307, at *1-3. The Hammond Court held that
dismissal of the plaintiffs’ negligence claim was appropriate because the plaintiffs:

      [Could not] establish that Defendant owed them any duty. None of
      the named Plaintiffs had any direct dealings with Defendant. . . .
      Plaintiffs had relationships (only) with institutional clients of
      Defendant . . . . Plaintiffs gave their personal data over to those
      entities, which, in turn, forwarded the data to Defendant (which stored
      the data on the tapes that ultimately were lost or stolen).
Id. at 9 (internal citations omitted); see also Worix, 2012 WL 1419257, at *3-6
(denying a motion to amend a claim of negligence in connection with a data breach
on the grounds that, even under the amended claim, the defendant had no common
law duty to protect the plaintiff’s personal information from disclosure).




8
  Moreover, Plaintiff premises her negligence claim on GP’s alleged failure to
prevent the theft of data by a third party. But, “[t]he prevailing rule in Kansas is
that in the absence of a ‘special relationship’ there is no duty on a person to control
the conduct of a third person to prevent harm to others.” South ex rel. South v.
McCarter, 119 P.3d 1 (Kan. 2005). Although the Kansas Supreme Court has
articulated numerous situations in which a “special relationship” exists, id., none of
them is applicable in this case. See generally Shirley v. Glass, 241 P.3d 134 (Kan.
Ct. App. 2010).
                                          - 32 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 33 of 41




      Plaintiff has alleged an even more tenuous connection to GP than that which
the Hammond Court found insufficient to state a claim. Plaintiff has not even
alleged that she used her credit card at a merchant that uses GP to process its
transactions. Plaintiff’s failure to allege any link between her and GP precludes
any finding of duty here, and Plaintiff’s negligence claims must be dismissed.
      Plaintiff has also failed to establish the other elements of a negligence claim
– that she suffered a legally cognizable injury and that GP proximately caused that
injury. As discussed at length above in Section I.B of this Memorandum, Plaintiff
has failed to allege an injury-in-fact sufficient to establish standing in this case.
Plaintiff likewise has failed to allege a cognizable injury sufficient to state a claim
for negligence.   Kansas has never recognized a cause of action for negligence
based on injuries such as increased risk of identity theft, cost of mitigation efforts
to prevent identity theft, or anxiety, emotional distress, or loss of privacy in
connection with exposure of PII. See generally McKissick v. Frye, 876 P.2d 1371,
1389 (Kan. 1994) (“[r]ecovery may not be had [in a negligence action] where the
alleged damages are too conjectural or speculative to form a basis for
measurement”); Ware ex rel. Ware v. ANW Special Educ. Co-op. No. 603, 180
P.3d 610 (Kan. Ct. App. 2008) (plaintiff cannot recover for negligent infliction of
emotional distress without showing physical injury).            Consistent with this
approach, numerous courts have held that such injuries are not sufficient to state a
claim for negligence in a data breach case. See Pisciotta v. Old Nat’l Bancorp, 499


                                         - 33 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 34 of 41




F.3d 629, 640 (7th Cir. 2007) (refusing to invent a “truly novel tort claim” under
Indiana law that would allow a plaintiff to recover for increased risk of future
identity theft and out-of-pocket costs for mitigation efforts); Krottner v. Starbucks
Corp., 406 F. App’x. 129, 131 (9th Cir. 2010) (affirming dismissal of the
plaintiff’s negligence claim because the plaintiff had not established a cognizable
injury under Washington law); Amburgy v. Express Scripts, Inc., 671 F. Supp. 2d
1046, 1054-55 (E.D. Mo. 2009) (applying Missouri law); Hammond, 2010 WL
2643307, at *9. Like the plaintiffs in these past data breach cases, Plaintiff has not
alleged sufficient injury to state a claim for negligence. 9
      Plaintiff has also utterly failed to establish causation for the reasons set forth
more fully in Section I.A of this Memorandum. For all of these reasons, Plaintiff’s
negligence claim should be dismissed.
      B.     Plaintiff’s negligence per se claim must be dismissed.
      Under Kansas law, to state a claim for negligence per se, Plaintiff must
allege: (i) a violation of a statute, ordinance, or regulation; (ii) which violation is
the cause of the damages resulting therefrom; and (iii) that an individual right of
action for injury arising out of the violation was intended by the legislature. Pullen




9
  Even if this Court finds that Plaintiff has established standing, that does not mean
that Plaintiff has adequately pled damages for purposes of her state law claims.
See Doe v. Chao, 540 U.S. 614, 624-25 (2004) (plaintiff may suffer Article III
injury and still not plead a proper cause of action).
                                          - 34 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 35 of 41




v. West, 92 P.3d 584, 593 (Kan. 2004). 10 Plaintiff’s claim stumbles at the outset
because she cannot establish that GP violated any of the statutes on which she
bases her negligence per se claim. See Section III of this Memorandum. Second,
as set forth in Section I.B of this Memorandum, Plaintiff fails to allege any
damages, let alone damages caused by violations of the statutes. Accordingly,
Plaintiff’s negligence per se claim must be dismissed.
V.    Plaintiff’s Contract-Based Claims Also Fail.

      A.     Plaintiff’s claim for breach of third-party beneficiary contract must be
             dismissed.
      Plaintiff alleges that she is the third-party beneficiary of an unspecified
“Processing Contract” between GP and unidentified “merchants, banks, and other
card issuing entities.” (Compl. ¶ 107). Plaintiff alleges in the most conclusory
fashion imaginable that this unknown contract between unidentified parties
requires in some unspecified way that GP not disclose Plaintiff’s PII to
unauthorized third party entities and that GP safeguard her PII from being stolen.
Under either Kansas or Georgia law, Plaintiff’s claim fails as a matter of law
because Plaintiff has not and cannot properly allege that the parties intended for
her to be a beneficiary of the unidentified contracts under which she seeks to sue.11

10
   Georgia has similar elements for negligence per se. See Hubbard v. Dep't of
Transp., 568 S.E.2d 559, 567 (Ga. Ct. App. 2002).
11
   Because Plaintiff, a citizen of Kansas, is suing a Georgia corporation, there are
threshold choice-of-law issues that must be resolved prior to analysis of the quasi-
contract claims. See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487 (1941) (a
federal court sitting in diversity is to apply the choice of law rules of the forum
                                        - 35 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 36 of 41




      For a third party to bring a breach of contract claim, that party must be an
intended beneficiary of the contract. See State ex rel. Stovall v. Reliance Ins. Co.,
107 P.3d 1219, 1231 (Kan. 2005) (state was not an intended third-party beneficiary
of a subcontract); O.C.G.A. § 9-2-20(b) (only “[t]he beneficiary of a contract made
between other parties for his benefit may maintain an action against the promisor
on the contract.”). The key inquiry is whether the contract itself expresses the
intent of the parties that a third person receive a direct benefit. See Stovall, 107
P.3d 1219, 1231-32 (Kan. 2005) (third party must show the existence of some
provision in the contract that operates to his benefit); Scott v. Mamari Corp., 530
S.E.2d 208, 211 (Ga. Ct. App. 2000) (“it must clearly appear from the contract that
it was intended for his benefit”). The mere fact that the third party would benefit
incidentally from performance of the agreement is not sufficient absent clear
contractual intent. Martin v. Edwards, 548 P.2d 779, 785 (Kan. 1976) (“a mere
incidental, collateral, or consequential benefit which may accrue to a third person
by reason of the performance of contract, or the mere fact that he has been injured
by the breach thereof, is not sufficient to enable him to maintain an action on the
contract.”); Starrett v. Commercial Bank of Ga., 486 S.E.2d 923 (Ga. Ct. App.

state); Convergys Corp. v. Keener, 582 S.E.2d 84, 86 (Ga. 2003) (in contract
actions, Georgia follows the traditional lex loci contractus approach). Here,
Plaintiff’s bare bones allegations, which fail to identify the contracts at issue or
inter alia where they were made, make it impossible to conduct such an analysis.
Accordingly, this Memorandum analyzes both Kansas and Georgia law.
Depending on the terms of the actual contracts at issue, it is also possible another
state’s law would apply.
                                        - 36 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 37 of 41




1997).      The burden of establishing standing to bring suit as a third-party
beneficiary rests with the party asserting it. See Stovall, 107 P.3d at 1230.
         Here, Plaintiff has not identified a specific contract by which she can claim
third party beneficiary status. Likewise, Plaintiff has not even alleged that GP
intended Plaintiff to be a third-party beneficiary of any contract between GP and
any issuing bank, merchant, or card association. Finally, Plaintiff does not identify
any contractual language that reflects an intent to confer third party beneficiary
status upon her. These failures require dismissal of her claim. See Lone Star Nat’l
Bank, N.A. v. Heartland Bank, Order on Motion to Dismiss, Civil Action No. H-
10-171 (S.D. Tex. Mar. 31, 2011 (attached hereto as Ex. B) (dismissing third party
beneficiary claim in data breach case).
         Accordingly, Plaintiff does not and cannot allege that the purported contract
expresses the required intent that she receive a direct benefit from the contract.
And, any alleged generalized intent to protect customer data is insufficient to
qualify Plaintiff as a third-party beneficiary as a matter of law. 12 See Byers v.
Snyder, 237 P.3d 1258, 1266 (Kan. Ct. App. 2010) (when contract is made for
general benefit, members of the public are generally not considered third-party
beneficiaries with standing to sue); Anderson v. Atlanta Comm. for Olympic
Games, Inc., 537 S.E.2d 345 (Ga. 2000) (park visitors were not third-party

12
  Similarly, as explained more fully in Section I.B, Plaintiff cannot allege any
actual damages proximately caused by GP’s conduct as required to maintain a
cause of action for breach of third-party beneficiary contract.
                                          - 37 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 38 of 41




beneficiaries of security services contracts with local Olympic committee);
Banknorth, N.A. v. BJ’s Wholesale Club, Inc., 442 F. Supp. 2d 206, 211 (M.D. Pa.
2006) (denying third party beneficiary claims alleging breach of merchant
agreement between issuing bank and merchant after security breach).             In sum,
Plaintiff’s third-party beneficiary allegations fail to raise any alleged right to relief
above a speculative level and must therefore be dismissed. See Twombly, 550 U.S.
at 555; see also Steadfast Ins. Co. v. Corp. Prot. Sec. Grp., Inc., 554 F. Supp. 2d
1335, 1339 (S.D. Fla. 2008) (dismissing third-party beneficiary claim under the
Twombly standard).
      B.     Plaintiff’s claim for breach of implied contract must be dismissed.
      Plaintiff alleges that she and GP entered into an implied contract that
obligated GP to reasonably secure her PII when it accepted her PII as part of a
payment transaction.     (Compl. ¶¶ 115-117). Plaintiff’s claim fails because the
Complaint is devoid of any allegation indicating that the she and GP ever reached
an agreement with each other or otherwise had a meeting of the minds. Indeed,
although Plaintiff premises her claim on her provision of PII to GP (see Compl.
¶ 114), Plaintiff did not ever provide her PII to GP. Rather, as Plaintiff alleges in
the Complaint, Plaintiff provided her PII to a merchant who in turn provided it to
GP. (Compl. ¶ 18).
      As with any other contract, an implied-in-fact contract requires the parties’




                                         - 38 -
     Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 39 of 41




mutual intent to enter an agreement. 13 See Mai v. Youtsey, 646 P.2d 475 (Kan.
1982); Eaves v. J.C. Bradford & Co., Inc., 326 S.E.2d 830, 832 (Ga. Ct. App.
1985).   Plaintiff pleads no basis from which mutual intent may be inferred.
Although a contract’s existence may be implied from the parties’ conduct, one
party’s unilateral understanding does not suffice. 14 Brokaw v. Board of Cnty.
Comm'rs of Cnty. of Shawnee Cnty., 247 P.3d 235 (Kan. Ct. App. 2011); Eaves,
326 S.E.2d at 832; see also Krottner¸ 406 F. App’x 129 (no implied contract to
safeguard data absent allegation that plaintiff read and relied on policy); Dyer v.
Nw. Airlines Corps., 334 F. Supp. 2d 1196, 1199-1200 (D.N.D. 2004) (policy
posted on a website cannot constitute a contract with a customer in the absence of
an allegation that the customer read and relied on the policy). And Plaintiff pleads
absolutely no basis for finding an intent on GP’s part to contract with Plaintiff.
Her implied contract claim should be dismissed.




13
   As set forth in note 11 above, Plaintiff’s vague allegations make it impossible to
conduct a choice of law analysis regarding this claim. Accordingly, this
Memorandum analyzes both Kansas and Georgia law.
14
   Although a contract can also be implied in law, the Complaint suggests only an
implied in fact contract and does not identify any specific laws by which such a
contract could be implied. See Mai v. Youtsey, 646 P.2d 475, 478 (Kan. 1982)
(contract implied in law is a legal fiction created to prevent unjust enrichment).


                                        - 39 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 40 of 41




                                  CONCLUSION
      For the reasons stated above and on the authorities cited, GP respectfully
submits that Plaintiff’s Complaint must be dismissed in its entirety.
      May 14, 2012

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                                        - 40 -
      Case 1:12-cv-01157-RWS Document 12-1 Filed 05/14/12 Page 41 of 41




                         CERTIFICATE OF SERVICE
             I hereby certify that on the 14th day of May, 2012, a copy of the

foregoing DEFENDANT GLOBAL PAYMENTS, INC.’S MEMORANDUM

IN SUPPORT OF MOTION TO DISMISS was served via electronic filing,

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